      Case 3:17-cv-02018-WWE Document 14 Filed 03/01/18 Page 1 of 12



                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

 FELICIA JOHNSON,                                        : CASE NO. 3:17-cv-02018 (WWE)
                                                         :
         Plaintiff,                                      :
                                                         :
 v.                                                      :
                                                         :
 THE CARTWRIGHT LIMITED                                  :
 PARTNERSHIP I d/b/a                                     :
 CENTRAL FORD-MERCURY,                                   :
                                                         :
         Defendant.                                      : MARCH 1, 2018

                THE CARTWRIGHT LIMITED PARTNERSHIP I’S
             ANSWER, AFFIRMATIVE DEFENSES, AND JURY CLAIM

        Defendant The Cartwright Limited Partnership I d/b/a Central Ford-Mercury, by

and through its attorneys, answers the Complaint as follows:

                                  I.    INTRODUCTION

        1.      Central Ford-Mercury denies so much of Paragraph 1, which alleges

      from the defendant, The Cartwright Limited Partnership I d/b/a Central Ford-
      Mercury (“Central Ford”), for engaging in unfair trade practices, including a
      “yo-yo” sale of a motor vehicle, also known as a spot delivery. The illegal,
      unfair and deceptive actions engaged in consisted of offering financing with
      Central Ford acting as the creditor, upon Plaintiff’s acceptance of the offer,
      delivering possession of the vehicle to the Plaintiff, then demanding the return
      of the vehicle, and requiring that she enter into a new contract with different
      terms as a condition of retaking possession, then repossessing the vehicle.

With regard to the remaining allegations contained in Paragraph 1, as pled, Central Ford-

Mercury lacks knowledge or information sufficient to form a belief as to the truth of the

matters asserted therein, and, therefore, leaves the Plaintiff to her proof.

        2.      Central Ford-Mercury denies the allegations set forth in Paragraph 2.
    Case 3:17-cv-02018-WWE Document 14 Filed 03/01/18 Page 2 of 12



                                       II.   PARTIES

        3.      Central Ford-Mercury admits Paragraph 3 to the extent it alleges that the

Plaintiff is a consumer and a natural person. With regard to the remaining allegations

contained in Paragraph 3, as pled, Central Ford-Mercury lacks knowledge or information

sufficient to form a belief as to the truth of the matters asserted therein, and, therefore,

leaves the Plaintiff to her proof.

        4.      Central Ford-Mercury admits the allegations set forth in Paragraph 4.

                                     III. JURISDICTION

        5.      Central Ford-Mercury admits Paragraph 5 to the extent it alleges that this

Court has jurisdiction over the federal statutory claims the Plaintiff has alleged. With

regard to the remaining allegations contained in Paragraph 5, as pled, Central Ford-

Mercury lacks knowledge or information sufficient to form a belief as to the truth of the

matters asserted therein, and, therefore, leaves the Plaintiff to her proof.

        6.      Central Ford-Mercury admits the allegations set forth in Paragraph 6.

        7.      Central Ford-Mercury lacks knowledge or information sufficient to form a

belief as to the truth of the allegations set forth in Paragraph 7, and, therefore, leaves the

Plaintiff to her proof.

        8.      Central Ford-Mercury admits Paragraph 8 to the extent it alleges that the

transaction occurred in Connecticut. With regard to the remaining allegations set forth in

Paragraph 8, as pled, Central Ford-Mercury lacks knowledge or information sufficient to

form a belief as to the truth of the matters asserted therein, and, therefore, leaves the

Plaintiff to her proof.

                            IV. FACTUAL ALLEGATIONS

      9.        Central Ford-Mercury admits the allegations set forth in Paragraph 9.


                                               2
    Case 3:17-cv-02018-WWE Document 14 Filed 03/01/18 Page 3 of 12



      10.       Central Ford-Mercury denies the allegations set forth in Paragraph 10.

      11.       Central Ford-Mercury denies the allegations set forth in Paragraph 11.

      12.       Central Ford-Mercury denies the allegations set forth in Paragraph 12.

      13.       Central Ford-Mercury denies the allegations set forth in Paragraph 13.

      14.       Central Ford-Mercury denies the allegations set forth in Paragraph 14.

      15.       Central Ford-Mercury denies the allegations set forth in Paragraph 15.

      16.       Central Ford-Mercury lacks knowledge or information sufficient to form a

belief as to the truth of the allegations set forth in Paragraph 16, and, therefore, leaves the

Plaintiff to her proof.

      17.       Central Ford-Mercury admits Paragraph 17 to the extent it alleges that, on

or about May 29, 2017, the Plaintiff visited Central Ford-Mercury. With regard to the

remaining allegations set forth in Paragraph 17, Central Ford-Mercury lacks knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein,

and, therefore, leaves the Plaintiff to her proof.

      18.       Central Ford-Mercury admits Paragraph 18 to the extent it alleges that,

while visiting Central Ford-Mercury, the Plaintiff met with sales person Judith McEwan.

Except as expressly admitted herein, Central Ford-Mercury denies the allegations set

forth in Paragraph 18.

      19.       Central Ford-Mercury admits the allegations set forth in Paragraph 19.

      20.       Central Ford-Mercury denies the allegations set forth in Paragraph 20.

      21.       Central Ford-Mercury admits the allegations set forth in Paragraph 21.

      22.       Central Ford-Mercury admits the allegations set forth in Paragraph 22.




                                               3
    Case 3:17-cv-02018-WWE Document 14 Filed 03/01/18 Page 4 of 12



      23.       Central Ford-Mercury admits Paragraph 23 to the extent it alleges that, in

conjunction with agreeing to purchase a new 2017 Ford Escape (the “Escape”), the

Plaintiff wished to trade in her 2010 Hyundai Accent (the “Hyundai”). At the time the

Plaintiff wished to purchase the Escape, she still owed the lien-holder for the Hyundai

approximately $3,345.00. The Plaintiff negotiated a price of $5,000.00 as the gross

trade-in allowance for the Hyundai, leaving her with a net value of $1,655.00 to be

applied toward her purchase of the Escape after the underlying lien for the Hyundai was

satisfied. Except as expressly admitted herein, Central Ford-Mercury denies the

allegations of Paragraph 23.

      24.       Central Ford-Mercury admits Paragraph 24 to the extent it alleges that the

Purchase Order for the Vehicle listed a sale price of $28,545.00. With regard to the

remaining allegations contained in Paragraph 24, as pled, Central Ford-Mercury lacks

knowledge or information sufficient to form a belief as to the truth of the matters asserted

therein, and, therefore, leaves the Plaintiff to her proof.

      25.       Central Ford-Mercury admits the allegations set forth in Paragraph 25.

      26.       Central Ford-Mercury admits the allegations set forth in Paragraph 26.

      27.       Central Ford-Mercury admits the allegations set forth in Paragraph 27.

      28.       Central Ford-Mercury admits Paragraph 28 to the extent it alleges that the

Plaintiff took delivery of the Escape on dealer license plates. With regard to the

remaining allegations contained in Paragraph 28, Central Ford-Mercury lacks knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein,

and, therefore, leaves the Plaintiff to her proof.

      29.       Central Ford-Mercury denies the allegations set forth in Paragraph 29.




                                               4
      Case 3:17-cv-02018-WWE Document 14 Filed 03/01/18 Page 5 of 12



      30.       Central Ford-Mercury admits the allegations set forth in Paragraph 30.

      31.       Central Ford-Mercury denies the allegations set forth in Paragraph 31, as

stated. Further answering, when Regional Credit Acceptance (“RAC”) sought to confirm

the employment status of the Plaintiff – as represented by the Plaintiff in her credit

application – it learned that the Plaintiff was not, in fact, employed full-time. RAC,

therefore, declined to purchase the retail installment contract (the “Contract”).

      32.       Central Ford-Mercury lacks knowledge or information sufficient to form a

belief as to the truth of the allegations set forth in Paragraph 32, and, therefore, leaves the

Plaintiff to her proof.

      33.       Central Ford-Mercury lacks knowledge or information sufficient to form a

belief as to the truth of the allegations set forth in Paragraph 33, and, therefore, leaves the

Plaintiff to her proof.

      34.       Central Ford-Mercury admits Paragraph 34 to the extent it alleges that, on

or about June 2, 2017, a representative from Central Ford-Mercury contacted the Plaintiff

to inform her that, upon further investigation, her credit application had been denied

when it was discovered that the Plaintiff was not employed on a full-time basis. Except

as expressly admitted herein, Central Ford-Mercury denies the allegations of Paragraph

34.

      35.       Central Ford-Mercury lacks knowledge or information sufficient to form a

belief as to the truth of the allegations set forth in Paragraph 35, and, therefore, leaves the

Plaintiff to her proof.

      36.       Central Ford-Mercury denies the allegations set forth in Paragraph 36.

      37.       Central Ford-Mercury denies the allegations set forth in Paragraph 37.




                                               5
    Case 3:17-cv-02018-WWE Document 14 Filed 03/01/18 Page 6 of 12



     38.        Central Ford-Mercury admits Paragraph 38 to the extent that it alleges

that, due to the Plaintiff’s credit history and part-time employment status, a third-party

lender would agree to extend her a loan for the Escape if she paid an additional $2,500.00

toward the purchase price. Except as expressly admitted herein, Central Ford-Mercury

denies the allegations of Paragraph 38.

     39.        Central Ford-Mercury admits Paragraph 39 to the extent that it alleges

that, on or about June 5, 2017, the Plaintiff and Ms. McEwan exchanged the following

text messages concerning the purchase, finance, and return of the Escape:

   Plaintiff: Sorry, I’m at work and can’t talk. But was wondering if I could
              pay the dealership the payments for the Ford Escape since they are
              marked on my finance paperwork as the creditor/seller?
   McEwan: Sorry dear[.] I just checked with the finance mngr and
           unfortunately she said no. The car needs to be back today or the
           2500. Or she will need to cancel the plate. Sorry
   Plaintiff: My car is still there and it’ll have my plates on it??
   McEwan: I just need to check your plate number. With you and yes it is still
           here

Except as expressly admitted herein, Central Ford-Mercury denies the allegations of

Paragraph 39.

     40.        Central Ford-Mercury admits Paragraph 40 to the extent that it alleges

that, on or about June 5, 2017, the Plaintiff and Ms. McEwan exchanged the text

messages (excerpted in Answer to Paragraph 39 of Complaint, supra) concerning the

purchase, finance, and return of the Escape. Except as expressly admitted herein, Central

Ford-Mercury denies the allegations of Paragraph 40.




                                              6
    Case 3:17-cv-02018-WWE Document 14 Filed 03/01/18 Page 7 of 12



     41.       Central Ford-Mercury admits Paragraph 41 to the extent that it alleges

that, on or about June 5, 2017, the Plaintiff and Ms. McEwan exchanged the text

messages (excerpted in Answer to Paragraph 39 of Complaint, supra) concerning the

purchase, finance, and return of the Escape. Except as expressly admitted herein, Central

Ford-Mercury denies the allegations of Paragraph 41.

     42.       Paragraph 42 is admitted to the extent it alleges that, on or about June 5,

2017, Central Ford-Mercury re-took possession of the Escape, and the Plaintiff re-took

possession of the Hyundai. Except as expressly admitted herein, Central Ford-Mercury

denies the allegations of Paragraph 42. Central Ford-Mercury specifically denies that it

repossessed the Escape, as there was never a lien in place with regard to that vehicle.

     43.       Central Ford-Mercury denies the allegations set forth in Paragraph 43.

     44.       Central Ford-Mercury denies the allegations set forth in Paragraph 44.

     45.       Central Ford-Mercury denies the allegations set forth in Paragraph 45.

     46.       Central Ford-Mercury admits the allegations set forth in Paragraph 46.

     47.       Central Ford-Mercury denies the allegations set forth in Paragraph 47.

                                 CAUSES OF ACTION
                         COUNT “A” – Truth In Lending Act

       48.     Central Ford-Mercury denies the allegations set forth in Paragraph 48.

       49.     Central Ford-Mercury denies the allegations set forth in Paragraph 49.

       50.     Central Ford-Mercury denies the allegations set forth in Paragraph 50.

       51.     Central Ford-Mercury denies the allegations set forth in Paragraph 51.

                   COUNT “B” – Credit Repair Organizations Act

       52.     Central Ford-Mercury denies the allegations set forth in Paragraph 52.

       53.     Central Ford-Mercury denies the allegations set forth in Paragraph 53.


                                             7
    Case 3:17-cv-02018-WWE Document 14 Filed 03/01/18 Page 8 of 12



                COUNT “C” – Connecticut Unfair Trade Practices Act

       54.     Central Ford-Mercury denies the allegations set forth in Paragraph 54.

       55.     Central Ford-Mercury denies the allegations set forth in Paragraph 55,

including all of its sub-paragraphs.

       56.     Central Ford-Mercury denies the allegations set forth in Paragraph 56.

       57.     Central Ford-Mercury denies the allegations set forth in Paragraph 57.

         COUNT “D” – Connecticut Retail Installment Sales Financing Act

       58.     Central Ford-Mercury denies the allegations set forth in Paragraph 58.

       59.     Central Ford-Mercury denies the allegations set forth in Paragraph 59.

       60.     Central Ford-Mercury denies the allegations set forth in Paragraph 60.

       61.     Central Ford-Mercury denies the allegations set forth in Paragraph 61.

       62.     Central Ford-Mercury denies the allegations set forth in Paragraph 62.

                 COUNT “E” – Uniform Commercial Code Article 9

       63.     Central Ford-Mercury denies the allegations set forth in Paragraph 63.

       64.     Central Ford-Mercury denies the allegations set forth in Paragraph 64.

       65.     Central Ford-Mercury denies the allegations set forth in Paragraph 65.

                           COUNT “F” – Breach of Contract

       66.     Central Ford-Mercury denies the allegations set forth in Paragraph 66.

                                COUNT “G” – Negligence

       67.     Central Ford-Mercury denies the allegations set forth in Paragraph 67.

       68.     Central Ford-Mercury denies the allegations set forth in Paragraph 68.

       69.     Central Ford-Mercury denies the allegations set forth in Paragraph 69.




                                            8
    Case 3:17-cv-02018-WWE Document 14 Filed 03/01/18 Page 9 of 12



                             AFFIRMATIVE DEFENSES

                                     General Denial

       To the extent not already addressed above, Central Ford-Mercury denies each

allegation, demanding strict proof thereof. Pursuant to its obligations to preserve any

affirmative defenses, Central Ford-Mercury alleges, upon information and belief, as

follows:

                                      First Defense

       The claims the Plaintiff alleges in her Complaint are barred because the Plaintiff

fraudulently induced Central Ford-Mercury into signing a retail installment contract (the

“Contract”) to purchase the subject Ford Escape as the Plaintiff fraudulently

misrepresented to Central Ford-Mercury that she was employed full-time when she

signed the Contract. Based on that misrepresentation, Central Ford-Mercury sought to

garner financing with Regional Acceptance Corporation, which was conditionally

approved, contingent upon, inter alia, confirmation of the Plaintiff’s employment status.

The Plaintiff knew at the time she made this representation that it was false. Central

Ford-Mercury would not have signed the Contract had the Plaintiff not made this

misrepresentation.

                                     Second Defense

       Equitable estoppel bars the Plaintiff’s claims. In support of this defense, Central

Ford-Mercury incorporates by reference the allegations set forth in its First Affirmative

Defense.




                                             9
    Case 3:17-cv-02018-WWE Document 14 Filed 03/01/18 Page 10 of 12



                                       Third Defense

        The doctrine of unclean hands bars the Plaintiff’s claims. The Plaintiff’s conduct

was not fair, equitable, and honest. In support of this defense, Central Ford-Mercury

incorporates by reference the allegations set forth in its First Affirmative Defense.

                               Fourth Affirmative Defense

        The Complaint fails to state a claim upon which relief may be granted.

                                Fifth Affirmative Defense

        Any violation of the Truth in Lending Act and Regulations, which may have been

committed, was the result of an act done or omitted in conformity with interpretation or

approval by an official of the Federal Reserve System, duly authorized to issue such

interpretations or approvals, or in conformity with the rules, regulations, interpretations,

or commentaries of the Federal Reserve Board.

                                       Sixth Defense

        If there was a violation of the Truth In Lending Act, it was the result of a bona

fide error.

                                     Seventh Defense

        Central Ford-Mercury may not be liable to the Plaintiff under the Credit Repair

Organization Act because it is not a “credit repair organization,” as the Act defines that

term.

                                      Eighth Defense

        The Plaintiff has failed to mitigate her damages.

                                       Ninth Defense

        The doctrines of waiver and estoppel bar the Plaintiff’s claims.




                                             10
   Case 3:17-cv-02018-WWE Document 14 Filed 03/01/18 Page 11 of 12



       Central Ford-Mercury reserves the right to amend these affirmative defenses, and

to assert other available defenses as additional information becomes available through

discovery.

                                   JURY DEMAND

       Central Ford-Mercury demands a jury on all issues so triable.

                                            Respectfully submitted by,

                                            DEFENDANT, THE CARTWRIGHT
                                            LIMITED PARTNERSHIP I d/b/a
                                            CENTRAL FORD-MERCURY


                                                    /s/ Robert E. Koosa
                                            Robert E. Koosa (ct26191)
                                            rkoosa@bonnerkiernan.com
                                            Bonner Kiernan Trebach & Crociata, LLP
                                            40 Court Street
                                            Boston, MA 02108
                                            617.426.0100
                                            617.426.0380 (facsimile)
                                            Its Attorney




                                           11
    Case 3:17-cv-02018-WWE Document 14 Filed 03/01/18 Page 12 of 12



                                     CERTIFICATION

         I hereby certify that on this date a copy of foregoing The Cartwright Limited
Partnership I’s Answer, Affirmative Defenses, and Jury Claim was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of
this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing
system or by mail to anyone unable to accept electronic filing as indicated on the Notice
of Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.

                                                       /s/ Robert E. Koosa




                                              12
